Case 1:21-cr-00003-RCL Document 70 Filed 09/03/21 Page 1 of 7

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
CASE NO. 21-cr-003 (RCL)

v.
Art Vhis Me jit
JACOB CHANSLEY, @.,
U. 8. 9. 9/3 /2/

Defendant.

STATEMENT OF OFFENSE IN SUPPORT OF GUILTY PLEA

I. Summary of Plea Agreement

Defendant Jacob Chansley agrees to admit guilt and enter a plea of guilty to Count Two of
the Indictment, Obstruction of an Official Proceeding, in violation of 18 U.S.C. §1512(c)(2). The
penalty for this offense is:

(A) aterm of imprisonment not greater than 20 years;

(B) a fine not to exceed $1,000,000;

(C) aterm of supervised release up to three years, after any period of incarceration; and

(D)  aspecial assessment of $100.

Il. Elements of Offense

The essential elements of the charged offense of Obstruction of an Official Proceeding, in

violation of 18 U.S.C. §1512(c)(2), each of which the Government must prove beyond a reasonable

doubt, are:

The defendant corruptly obstructed, influenced, or impeded (or attempted to do so), an

official proceeding.

A proceeding before Congress is an official proceeding, pursuant to 18 U.S.C.

§ 1515(a)(1)(B).
Case 1:21-cr-00003-RCL Document 70 Filed 09/03/21 Page 2 of 7

Il. Statement of Facts

The Government respectfully submits the following Statement of Offense in support of a
plea of guilty by defendant Jacob Chansley to Count Two of the Indictment in the above-
captioned mattér.

‘If this case were to go to trial, the government would prove the following facts beyond a
reasonable doubt:

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.

3. On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Case 1:21-cr-00003-RCL Document 70 Filed 09/03/21 Page 3 of 7

Capitol. As noted above, temporary and permanent barricades were in place around the exterior of
the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

Bs By 1:50 p.m.,; the defendant, Jacob Chansley, was among the members of the crowd
at the police line on the West front of the U.S. Capitol building, where U.S. Capitol Police and
Metropolitan Police were standing in a line behind temporary “bike rack” style barricades in order
to keep back the crowd. The defendant was dressed in a viking hat with fur and horns, was shirtless,
wearing red, white and blue face paint, and carrying an American flag tied to a pole with a sharp
object at the tip and a bullhorn. The defendant climbed the media tower erected for the
Inauguration, directly ahead of the police line holding the rioters back at the West front.

6. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

7. The defendant was among the crowd that passed the police line at the West front,
entered the scaffolding erected in advance of the Inauguration on top of the staircase heading up
to the Lower West Terrace of the U.S. Capitol building. The defendant and others pushed past the
police line at the top of the scaffolding, and entered the Upper West Terrace of the U.S. Capitol
building at approximately 2:10 p.m.

8. At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Case 1:21-cr-00003-RCL Document 70 Filed 09/03/21 Page 4 of 7

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of law enforcement, as others in the crowd
encouraged and assisted those acts. The riot resulted in substantial damage to the U.S. Capitol,
requiring the expenditure of more than $1.4 million dollars for repairs.

9. The defendant was with the mob that approached the first floor of the U.S. Capitol
building on the Senate side. Other members of the crowd broke two windows and crawled inside
the building at approximately 2:13 p.m. Those rioters then broke open the door to the U.S. Capitol
building between the two broken windows, setting off a loud alarm. The defendant then entered
through the broken door at approximately 2:14 p.m: The defendant was one of the first 30 rioters
inside the U.S. Capitol building.

10. Shortly thereafter, at approximately 2:20 p.m., members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the
United States Congress, including the joint session, were effectively suspended until shortly after
8:00 p.m. the same day.

11. At approximately 2:16 p.m., the defendant and other rioters ascended the stairs to
the second floor to the Senate side of the U.S. Capitol building. In a clearing on the second floor,
the defendant and other rioters were met by a line of U.S. Capitol Police officers, instructing them
to peacefully leave the building. The defendant challenged U.S. Capitol Police Officer K. R. to let
them pass, ultimately using his bullhorn to rile up the crowd and demand that lawmakers be

brought out.
Case 1:21-cr-00003-RCL Document 70 Filed 09/03/21 Page 5 of 7

12. Instead of obeying the instructions of the U.S. Capitol Police to leave the building,
the defendant traversed another staircase to the third floor of the Senate side of the U.S. Capitol
building. At approximately 2:52 p.m., the defendant entered the Gallery of the Senate alone. The
defendant then proceeded to scream obscenities in the Gallery, while other rioters flooded the
Chamber below.

13. The defendant then left the Gallery and proceeded down a staircase in an attempt
to gain entry to the Senate floor. There, the defendant once again encountered Officer K.R., who
once again asked him to leave the building. The defendant insisted that others were already on the
Senate floor and he was going to join them. Officer K.R. then followed the defendant on to the
Senate floor.

14. The defendant then scaled the Senate dais, taking the seat that Vice President Mike
Pence had occupied less than an hour before. The defendant proceeded to take pictures of himself
on the dais and refused to vacate the seat when Officer K. R., the lone law enforcement officer in
the Chamber at the time, asked him to do so. Instead, the defendant stated that “Mike Pence is a
fucking traitor” and wrote a note on available paper on the dais, stating “It’s Only A Matter of
Time. Justice Is Coming!”

15. After Officer K. R. again asked the defendant to vacate the seat, the defendant
remained, calling other rioters up to the dais and leading them in an incantation over his bullhorn,
which included giving thanks for the opportunity “to allow us to send a message to all the tyrants,
the communists, and the globalists, that this is our nation, not theirs, that we will not allow
America, the American way of the United States of America to go down.” The defendant went on
to say “[t]hank you for allowing the United States of America to be reborn. Thank you for allowing

us to get rid of the communists, the globalists, and the traitors within our government.”
Case 1:21-cr-00003-RCL Document 70 Filed 09/03/21 Page 6 of 7

16. ‘Finally, at approximately 3:09 p.m., other law enforcement officers arrived to
support Officer K. R., and cleared the defendant and other rioters from the Chamber.

17. In light of the dangerous circumstances caused by the unlawful entry to the U.S.
Capitol, including the danger posed by individuals who had entered the U.S. Capitol without any
security screening or weapons check, Congressional proceedings could not resume until after every
unauthorized occupant had left the U.S. Capitol, and the building had been confirmed secured.
The proceedings resumed at approximately 8:00 p.m. after the building had been secured. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the session resumed.

18. In the days after January 6, 2021, the defendant gave interviews to media outlets,
including an interview with NBC News in which the defendant stated “[t]he fact that we had a
bunch of our traitors in office hunker down, put on their gas masks and retreat into their
underground bunker, I consider that a win.”

19. The defendant’s actions halted the normal functioning of the Congress on January

6, 2021, including the certification of the electoral college votes for the 2020 Presidential Election.

Respectfully submitted,

CHANNING D. PHILLIPS
D.C. Bar No. 415793
Acting United States Attorney

By:  /s/Kimberly L. Paschall
KIMBERLY L. PASCHALL
D.C. Bar No. 1015665
Assistant United States Attorney
555 4th Street, N.W.
Washington, D.C. 20530
(202) 252-2650
Kimberly.Paschall@usdoj.gov
Case 1:21-cr-00003-RCL Document 70 Filed 09/03/21 Page 7 of 7

DEFENDANT’S ACKNOWLEDGMENT

I have read this factual proffer, understand it, and agree that it is true and accurate. While
it is not a complete recitation of all that I did or all that I know, it represents some of my conduct
and some of my knowledge concerning my own involvement in illegal activity. No threats have
been made to me nor am | under the influence of anything that could impede my ability to
understand this factual proffer fully.

/ 1

‘ . fo
eft

‘

Date: / DEK 2’. =. \C ss — » | L i

—A ‘

Jaco) Chansiey “Yo

ATTORNEY’S ACKNOWLEDGMENT

I have read each of the pages constituting this factual proffer, reviewed them with my

client, and discussed it with my client.
(bur A [i ———

Albert ¥ Wakins, Esq.
Attorney for Defendant

pats OF “2! “a2 |
